     Case 2:23-cv-02173-NBF Document 1-3 Filed 12/29/23 Page 1 of 2




•   I first met Armand at the elevators the week I first started. Week of Jan 28, 2022.
•   I would see Armand in the hallways, but it wasn’t until June 14, 2022, I started to notice
    that he had a weird behavior. On this date, I walked to Kebron’s desk with Kebron and he
    was walking behind us. I noticed he went to a Brad’s office and as soon as we walked past,
    Brad’s office, he walked right out and again in back of us following us from behind. I didn’t
    think anything of this at first. But he was following us.
•   June 14, 2022- Armand starts to ask me questions in the cafeteria. Questions are how you
    doing? Are you, ok? Flirty and very friendly. I told him several times I was fine. He kept
    looking at me. I was in the cafeteria with another female coworker, Adelbis, and she made
    a comment to me that she thought he may have a crush on me because of the way he
    was very attentive to me. Again, I didn’t think anything of it.
•   The last time I had a conversation with Armand was the week August 1, 2022. Armand
    spoke to me in the lunchroom and said he was going on vacation to Greece we spoke
    about vacations, and everything was fine. I noticed him a bit nervous, but I didn’t pay
    much attention to it because I didn’t know him that well and I thought he was just being
    friendly.
•   On August 3, 2022 – I send him a message by email saying safe travels and to take lots of
    pictures. I was always nice and polite to Armand.
•   When Armand came back from Vacation, he seemed odd he wanted to speak to me more
    and more and I started to back away because I got the impression, he kind of liked me
    after trying to get my attention again in the cafeteria several times. Again, asking me
    questions of how I was doing in a weird uncomfortable way.
•   December 16, 2022 – After many months of not speaking. holiday party- Armand made
    me feel uncomfortable he seemed mad at me and there was the first time I realized he
    indeed had some sort of feelings for me. Because after months of not speaking he was
    upset that I didn’t pay him any attention. I walked to the bar to get my lipstick from my
    coworker, and he was next to her. I said excuse me and he wouldn’t move. I asked him
    several times and he wouldn’t move. I had to make space for my chair. He was being mean
    to me because I was being professional with him.
•   January 26, 2023 – This day I was in the cafeteria talking to some of the girls about my
    dogs. Armand comes in and I stop speaking because I didn’t know who was walking in. I
    automatically stop talking and then say I will be leaving because at this point, he was
    already starting to make me feel a certain way because he was staring at me. I look back
    at the girls and I see him looking at my butt and checking me out. When I come back into
    the cafeteria the ladies in the WC department said he asked them about me and what I
    was talking about, and they said oh she was just speaking about her dogs. He said, oh I
    liked what I was thinking she was saying better (in a sexual manner). It was very
    embarrassing when they told me this. Again, I barely know him for him, for him to say this
    is inappropriate.
•   This was the firm meeting that announced Attorney Rosenberg was no longer going to be
    part of the office. Armand kept looking at me and staring at me when he was doing the
    presentation he would look away and then look again and kept doing it over and over and
    over again which again made me feel uncomfortable.



                                             1
     Case 2:23-cv-02173-NBF Document 1-3 Filed 12/29/23 Page 2 of 2




•   March 9, 2023 –. He went into the elevators and got close to me and rubbed his shoulder
    onto mine. I ignored him and kept ignoring him because I wanted him to get the picture
    that I didn’t like him.
•   March 15, 2023 – I see Armand in the Cafeteria he starts to look at my butt as I am walking
    away.
•   March 16, 2023 – Armand came to the printer and started to look at me.
•   April 19 or April 20 – Armand comes to the printer and starts to look at me from head to
    toe he stops at my vagina area and keeps looking down.
•   June 8, 2023 – Armand is walking in the hallway and was trying to intimidate me and
    wouldn’t move. He was pretending to not see me and I said excuse me and it wasn’t until
    he was almost touching me, that he moved a bit, but I was against the wall at this point.
•   July 26, 2023, Wednesday – The Happy Hour today. I went to the happy hour and sat on
    the corner with Marlyn and Heather. Partners were all sitting together, and Armand went
    over with the partners and sat down with all of them. Heather went to go sit by the
    partners to listen to their conversation and Armand asked her why she was sitting by
    herself Heather mentioned said my friends don’t want to sit here. Armand turned around
    looked at me in the eyes very mean and serious and said “are you being anti-social” and I
    told him because I wanted to sit where I was sitting at, and he continued to make
    comments and looked at me in a very mean and manipulating manner. I didn’t move.
    Because it is not required to have assigned seating. I am getting the feeling that Armand
    is mad because I am not interested in him. His emotions are getting out of control.
    Although I was sitting with Marlyn at the happy hour he was directing his aggression
    towards me. He was mean in front of all the male partners and some attorneys.
•   Because of all these things Armand is creating a hostile environment for me to work in.
    Also saying I am anti-social makes me feel uncomfortable because he doesn’t know if I
    have any sort of disabilities. Aug 1, 2023.
•   Every time I walk by his office, I can see him looking at me from far away.
•   Armand was also speaking badly about another female attorney at the happy hour making
    fun of her and saying mean things about her work. He was saying this loudly in front of
    everyone.
•   In April sometime Armand was also getting aggressive in the hallways with another
    attorney and was yelling at him very aggressively.
•   I am scared of Armand’s retaliation towards me because of all of this. Armand makes me
    uncomfortable.
•   I am trying to get my job done as best as I can with fear and worry in the back of my mind
    when I go into the office. Armand likes to do things to me when no one is looking but
    lately like the happy hour incident it was in front of others. Again, I barely know him nor
    worked with him for him to be mean to me.




                                             2
